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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
NATIONAL RIFLE ASSOCIATION OF
AMERICA,
                                                  Case No. 18 Civ. 566 (TJM)(CFH)
                  Plaintiff,
      v.

ANDREW CUOMO, individually, and MARIA T.
VULLO, individually,

                  Defendants.




       DEFENDANT VULLO’S MEMORANDUM OF LAW IN SUPPORT OF
            MOTION TO STAY DISCOVERY PENDING APPEAL




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                                 PRELIMINARY STATEMENT

               Denials of qualified immunity are immediately appealable, one of the rare

exceptions to the final judgment doctrine, and such appeals divest the District Court of

jurisdiction. Such denials are immediately appealable because the purpose of qualified immunity

is to spare a defendant public official from both the burden of pre-trial discovery and sitting for

proceedings—as the U.S. Supreme Court repeatedly has reiterated. Compelling Ms. Vullo to

participate in discovery while her strong immunity defense is pending on appeal would

preemptively deny her the very protections to which she is entitled under controlling Supreme

Court precedent.

               Ms. Vullo’s appeal to the Second Circuit, filed on March 22, 2021, divested this

Court of jurisdiction over the NRA’s claims against her, as Supreme Court precedent makes

clear, and requires a stay of discovery. Indeed, as case after case in this Circuit shows, a district

court does not have the authority to oversee further proceedings involving Ms. Vullo until her

appeal has been resolved—at least without a showing that her appeal is frivolous, which it

clearly is not. Under this precedent, the Court should stay discovery until the appeal is resolved.

               Although not required, even under the four-factor balancing test used to determine

whether to issue a discretionary stay, a stay is warranted here. Ms. Vullo has established that she

is likely to succeed on the merits of her appeal and be granted immunity regarding the one

remaining claim against her. Without a stay, she will forever lose her right of immunity from the

substantial burdens of discovery. Yet the NRA cannot point to any specific prejudice from a

stay, complaining only of intangible harms of delay—which, given the expedited nature of this

appeal, is minimal. Lastly, the public interest in upholding the principles behind immunity

weighs heavily in favor of recognizing the protections that immunity affords Ms. Vullo and

granting the stay.
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               Given the importance of a discovery stay in protecting Ms. Vullo’s immunity

rights while her appeal is pending, the stay should extend to all discovery in this case. Aside

from its claim against Ms. Vullo, the NRA’s only remaining claim is against Governor Cuomo.

Ms. Vullo should not be required to monitor, much less participate in, the NRA’s discovery

efforts in the case while her appeal is pending. Thus, a stay of discovery as to the claim against

Ms. Vullo necessitates a stay of discovery as to all claims in the case. Waiting for the outcome

of the appeal is the most efficient course for the resolution of this case. The parties are already

re-briefing motions the NRA previously submitted, in light of the District Court’s intervening

decision. Both the Court and the parties would benefit from a final resolution before any

discovery proceeds. Ms. Vullo therefore requests that this Court stay all discovery until the

Second Circuit has resolved her pending appeal.

                                   PROCEDURAL HISTORY

               The Court is familiar with the factual and procedural history of this case and Ms.

Vullo will not restate it at length here. As relevant to this motion, Ms. Vullo notes the following

events.

               Discovery Motions. In the latter half of 2020, the NRA filed a series of

discovery motions seeking, inter alia, Hague Convention discovery and letters rogatory against

Lloyd’s-related entities for wide-ranging documents and depositions of 14 witnesses in the

United Kingdom, Dkts. 189, 204, and 246, and extensive document discovery of one of the

NRA’s political opponents, the non-profit organization Everytown for Gun Safety. Dkt. 251-27.

At the same time, the NRA maintained its pursuit of voluminous materials from the Department

of Financial Services (“DFS”) by way of its objection to the Special Master’s First Report and

Recommendation. See Dkt. 262.



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               Ms. Vullo also moved to compel the NRA to fully answer interrogatories (in the

event that discovery proceeded), as the NRA repeatedly has failed to provide any factual support

in discovery for its allegations that Ms. Vullo engaged in “threats” and “backroom exhortations”

with respect to regulated entities. See Dkt. 293. From the commencement of this litigation,

despite numerous attempts by Ms. Vullo to obtain basic discovery from the NRA regarding these

false allegations, the NRA has utterly failed to identify any facts to support the allegations,

which form the core of its sole remaining claim against Ms. Vullo, mandating dismissal. Indeed,

Judge McAvoy’s decision from which Ms. Vullo appeals hinged on these alleged “threats” and

“backroom exhortations,” Dkt. 322—as to which the NRA has provided no discovery and there

will be no credible evidence because they never happened.

               On December 14, 2020, this Court ordered a stay of discovery—including non-

party discovery—pending resolution of Ms. Vullo’s and DFS and Governor Cuomo’s separate

motions to dismiss. Dkt. 314. As the Court observed then, “the breadth of discovery in this

action is significant—both in sheer volume of material and expense.” Id. at 8. A stay allowed

the parties to conserve both time and expense pending the potential narrowing or elimination of

the NRA’s claims. See id. (noting the same).

               Judge McAvoy’s Recent Decision. On March 15, 2021, Judge McAvoy granted

in part and denied in part Ms. Vullo’s motion to dismiss the NRA’s claims, significantly

narrowing the claims against her. Dkt. 322 (“Order”). The District Court determined that Ms.

Vullo is entitled to absolute immunity on the NRA’s selective enforcement claims and dismissed

those claims in their entirety. As to the First Amendment claim against Ms. Vullo, Judge

McAvoy stated that he was “inclined to agree with Ms. Vullo that there is no case clearly

establishing that otherwise protected public statements transform into an unlawful threat merely



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because there is an ongoing, and unrelated, regulatory investigation.” Id. at 25. The District

Court nonetheless denied Ms. Vullo’s assertion of qualified immunity on the First Amendment

claim “at this time” on the ground that “a question of material fact exists as to whether Ms. Vullo

explicitly threatened Lloyd’s with DFS enforcement if the entity did not disassociate with the

NRA.” Id. at 27. Judge McAvoy dismissed the claims against DFS and Governor Cuomo in his

official capacity in their entirety.

                On March 22, 2021, Ms. Vullo noticed her appeal of “that portion of the Opinion

and Order of the District Court for the Northern District of New York, decided and entered on

March 15, 2021 (Dkt. No. 322), that denied Ms. Vullo’s motion to dismiss the claims against her

on qualified immunity grounds.” Dkt. 325. This appeal, if granted, would resolve all remaining

claims against Ms. Vullo.

                Ongoing motion practice. On March 26, 2021, this Court held a conference with

all parties and third parties DFS and Everytown for Gun Safety. Despite the significant

winnowing of the NRA’s claims in light of Judge McAvoy’s Order, the NRA nonetheless

reaffirmed its intent to seek expansive discovery against various U.K.-based Lloyd’s-related

entities, Everytown for Gun Safety, and even the now-dismissed DFS. The Court dismissed

without prejudice the NRA’s motions seeking discovery from the Lloyd’s-related entities and

Everytown for Gun Safety, and set a briefing schedule for the NRA to renew each motion. Dkt.

328. The Court further set a schedule for this stay motion and, given the impact of a stay on the

NRA’s motions, noted that it will “likely address [the stay] motion first.” Mar. 26, 2021 Tr. of

Proceedings. On April 7, 2021, the Court scheduled oral argument for April 22, 2021 on Ms.

Vullo’s motion to compel the long-sought interrogatory responses from the NRA. Dkt. 334.




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                                                 ARGUMENT

                  Ms. Vullo is entitled to a stay of all proceedings against her in the District Court,

including discovery, while her appeal of the District Court’s denial of her qualified immunity

defense is pending before the Second Circuit. The District Court was divested of jurisdiction

over the NRA’s claim against Ms. Vullo upon the filing of her notice of appeal. It no longer has

the authority to oversee discovery related to the allegations against her, particularly where the

NRA has not—and cannot—establish that her appeal is frivolous. Even applying the

inapplicable four-factor test used to stay proceedings unrelated to a qualified immunity appeal, a

discovery stay is fully warranted here. Moreover, this stay should extend to the entire case, as

the basis for staying discovery as to Ms. Vullo extends to the entire case.

I.       THE DISTRICT COURT HAS NO JURISDICTION OVER THE SURVIVING
         CLAIM AGAINST MS. VULLO DURING THE PENDENCY OF HER APPEAL
         TO THE SECOND CIRCUIT

                  Ms. Vullo has appealed the District Court’s denial of her motion to dismiss the

NRA’s First Amendment claim against her on the basis of qualified immunity. See Dkt. 325.

Her appeal divested the District Court of jurisdiction over that claim. Until the Second Circuit

has resolved Ms. Vullo’s appeal, discovery must be stayed.1

         A.       An interlocutory appeal of a denial of the qualified immunity defense divests
                  the District Court of jurisdiction over the claims involved.

                  As a general rule, the filing of a notice of appeal “divests the district court of its

control over those aspects of the case involved in the appeal.” Jin Zhao v. State Univ. of New

York, 613 F. App'x 61, 62 (2d Cir. 2015) (quoting Griggs v. Provident Consumer Disc. Co., 459

U.S. 56, 58 (1982)) (asserting jurisdiction over appealed issue of fee award but not appealed



1
 Similarly, because the District Court lacks jurisdiction over the remaining claim against Ms. Vullo, Ms. Vullo is
not required to file an answer until the Second Circuit has resolved the appeal.

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issue of settlement agreement). “The filing of a notice of appeal is an event of jurisdictional

significance.” Griggs, 459 U.S. at 58. The District Court may only retain jurisdiction of the

matter on appeal when the Court of Appeals has “establish[ed] summary procedures and

calendars to weed out frivolous claims,” such as allowing the district court to certify an

immunity appeal as frivolous. Behrens v. Pelletier, 516 U.S. 299, 308, 310-11 (1996). The

Second Circuit has not established such summary procedures to allow the District Court to

certify appeals as frivolous (which the appeal clearly is not).

                  This divestment rule holds true for interlocutory appeals of the denial of an

assertion of qualified immunity. “[W]here a defendant who claims a qualified immunity from

liability for civil rights violations files notice of an interlocutory appeal from a district court’s

denial of a dispositive motion on that defense, the court of appeals clearly has jurisdiction,”

which “divests the district court of jurisdiction.” Hallock v. Bonner, No. 03-cv-195, 2003 WL

22519644, at *2 (N.D.N.Y. Nov. 4, 2003). While the Second Circuit has not directly held that

the filing of an interlocutory qualified immunity appeal automatically divests district courts of

jurisdiction, the First, Fifth, Seventh, and Ninth Circuits have all held that district courts are

automatically divested of jurisdiction, as Hallock recognized.2

                  Recognizing this rule, district courts in this Circuit routinely stay discovery once a

defendant has filed an interlocutory appeal. In Hallock, the district court denied the plaintiff’s

request for an order setting a discovery schedule for lack of jurisdiction pending resolution of the



2
  See Williams v. Brooks, 996 F.2d 728, 729 (5th Cir. 1993) (“[T]he traditional rule that the filing of a notice of
appeal divests a district court of jurisdiction . . . applies with particular force in the immunity context.”); Chuman v.
Wright, 960 F.2d 104, 105 (9th Cir. 1992) (holding that when a defendant files a notice of interlocutory appeal on an
issue of qualified immunity, “the district court is automatically divested of jurisdiction to proceed with trial pending
appeal”); Stewart v. Donges, 915 F.2d 572, 577 (10th Cir.1990) (“Defendants’ right not to be tried while an
interlocutory appeal is pending on qualified immunity arises ‘automatically’ upon the appeal”). The First and
Seventh Circuits have reached similar holdings. See Rivera–Torres v. Ortiz Velez, 341 F.3d 86, 93 (1st Cir. 2003);
Apostol v. Gallion, 870 F.2d 1335, 1338 (7th Cir. 1989).

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defendants’ interlocutory appeal. Hallock pointed to the Supreme Court’s holding in Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982), that “discovery should not be allowed” until immunity

questions are resolved. See also Morin v. Tormey, No. 07-cv-0517, 2010 WL 2771826, at *2 n.2

(N.D.N.Y. Apr. 29, 2010) (deciding sua sponte that it “will not order the defendants to

participate in any further discovery pending the resolution of their interlocutory appeal” of

qualified immunity and citing Hallock); In re Facebook, Inc., IPO Sec. & Derivative Litig., 42 F.

Supp. 3d 556, 558 (S.D.N.Y. 2014) (“[W]hen an appeal of the denial of qualified immunity is

under consideration, discovery should not proceed.”).

               Similarly, the court in Edrei v. City of New York, No. 16-cv-1652, 2017 WL

3822744, at *1 (S.D.N.Y. Aug. 31, 2017), held that it lacked jurisdiction to permit any discovery

when defendant was appealing the applicability of a qualified immunity defense in an excessive

force case and the remaining claims were so similar in their factual basis to the issue being

appealed that it could not properly exercise jurisdiction over those claims while the appeal was

pending. Notably finding that “Defendants have established the merits of their motion [to stay

proceedings] under the divestiture argument,” the court stated that “consideration of

[Defendants’] discretionary stay arguments need not be undertaken.” Id. at *3 n.2.

               To the same end, but framed differently, courts have held that a stay request was

unnecessary—“moot” even—because the district court’s lack of jurisdiction to proceed acts as an

automatic stay. Bradley v. Jusino, No. 04-cv-8411, 2009 WL 1403891, at *1 (S.D.N.Y. May 18,

2009); see also In re Facebook, Inc., 42 F. Supp. 3d at 559 (denying for lack of jurisdiction

plaintiffs’ motion to compel discovery against defendant with a pending appeal of qualified

immunity denial without a stay request).




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                 A discovery stay is equally required here. Because Ms. Vullo has appealed denial

of her motion to dismiss the First Amendment claim on qualified immunity grounds, and the

NRA has no other extant claims against her, the District Court is divested of jurisdiction over

this case as it relates to Ms. Vullo until her appeal is resolved. See Edrei, 2017 WL 3822744, at

*1. The Court lacks jurisdiction to oversee any discovery related to the NRA’s claim that Ms.

Vullo violated the First Amendment, including the NRA’s efforts to obtain party or third-party

discovery to support its First Amendment claim against Ms. Vullo and its pending motions

seeking this discovery.

        B.       The District Court cannot retain jurisdiction because Ms. Vullo’s appeal is
                 not frivolous.

                 While some courts in the Second Circuit have indicated that the automatic stay

does not apply in the limited situation where a district court certifies the qualified immunity

appeal as “frivolous,” even if this Court were to adopt that approach, the NRA cannot

establish—and has not even sought to establish—that this limited situation applies here.

Unquestionably, Ms. Vullo’s appeal is not frivolous, as Judge McAvoy’s decision makes clear.

                 1.       The Northern District does not apply the limited exception to the
                          automatic divestment of jurisdiction for alleged frivolous appeals.

                 Some courts in the Southern and Eastern District of New York have held that

where there is a qualified immunity appeal, the district court is not divested of jurisdiction if—

and only if—the court certifies that the appeal is frivolous.3 The prevailing approach in the

Northern District, however, is that the appeal divests the Court of jurisdiction, period. See supra




3
  As far as we can determine, the Northern District of New York has not employed this approach, and the Western
District of New York has only done so once in a pre-Behrens decision—its only decision addressing jurisdiction on
a qualified immunity appeal. See Bean v. City of Buffalo, 822 F. Supp. 1016, 1019 (W.D.N.Y. 1993). The
prevailing approach in the Northern District is that there is a divestment of jurisdiction, period.

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Section I.A. And even where courts have applied the limited exception, they generally have

declined to certify the appeal as frivolous. As the Southern District of New York has explained:

               [I]n the context of qualified immunity where an immediate appeal
               is necessary to vindicate the right not to be sued in derogation of
               fundamental constitutional guarantees, courts, including those in
               [the Southern District of New York], have applied a dual
               jurisdiction rule under which an appeal of the denial of qualified
               immunity under the collateral order doctrine divests the district
               court of jurisdiction to proceed with the trial unless the district
               court certifies the appeal as frivolous.

Bradley, 2009 WL 1403891, at *1 (cleaned up) (declining to certify qualified immunity appeal as

frivolous and denying as moot defendant’s request for a stay given the court’s lack of jurisdiction

to proceed); see In re Facebook, Inc., 42 F. Supp. 3d at 559 (denying for lack of jurisdiction

plaintiffs’ motion to compel discovery against defendant with a pending appeal of qualified

immunity denial where plaintiff did not request appeal to be certified as frivolous).

               Courts generally only consider whether to certify an appeal as frivolous on the

plaintiff’s request. See, e.g., Bradley, 2009 WL 1403891, at *1.

               Interlocutory appeals of the denial of qualified immunity have generally only

been certified as frivolous when the appeal raised a question of fact only, such that there was no

ground for the Second Circuit to exercise jurisdiction. See Bean, 822 F. Supp. at 1019, Palmer v.

Goss, No. 02-cv-5804, 2003 WL 22519454, at *1 (S.D.N.Y. Nov. 5, 2003). Even were this

standard to apply, this case does not meet it.

               2.      The NRA has not sought certification and cannot establish Ms.
                       Vullo’s meritorious appeal is frivolous.

               Here, the NRA has not moved the Court for certification and is unable to show

that certification would be appropriate here.

               Ms. Vullo’s appeal is clearly meritorious, and far from frivolous. She has

substantial grounds for her appeal regarding the NRA’s First Amendment claim on the basis of

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qualified immunity, and these grounds were reinforced by the District Court’s recent Order. As

Judge McAvoy found, “there is no case clearly establishing that otherwise protected public

statements transform into an unlawful threat merely because there is an ongoing, and unrelated,

regulatory investigation.” Dkt. 322 at 25. It was objectively reasonable for Ms. Vullo to believe

that when she engaged in protected—and “essential”—government speech to “address matters of

public importance,” her conduct was lawful—and therefore protected by qualified immunity.

Dkt. 322 at 25-26; see also Zieper v. Metzinger, 474 F.3d 60, 68 (2d Cir. 2007) (granting

qualified immunity against First Amendment claim because it was not “apparent to a reasonable

officer that defendants’ actions crossed the line between an attempt to convince and an attempt to

coerce”). Only the added context of barebones—and unsupported—allegations4 of “threats” and

“backroom exhortations”—allegations that Ms. Vullo argues do not meet basic pleading

standards and otherwise do not undermine her entitlement to qualified immunity as a matter of

law—led Judge McAvoy to deny Ms. Vullo qualified immunity at this stage. Dkt. 322 at 26-27.

Recognizing the limits of a qualified immunity appeal, Ms. Vullo is not challenging on appeal

the truth of these allegations. Rather, her appeal will argue that these conclusory allegations are

insufficient under Ashcroft v. Iqbal, 556 U.S. 662, 672 (2009), and other controlling caselaw to

make out a cognizable constitutional violation, much less one that had been clearly established at

the time the alleged conversations occurred. Ms. Vullo further will argue that the NRA’s entire

First Amendment theory—which seeks to characterize lawful and appropriate government


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  As Ms. Vullo has informed this Court on multiple occasions, these allegations are false. See Dkt. 293-1 (Def.
Vullo’s Mot. to Compel Interrogatory Responses); Dkt. 211 (Def. Vullo’s Mot. to Dismiss). While Ms. Vullo
acknowledges Judge McAvoy’s statement that this may present an issue of fact, Ms. Vullo’s appeal will argue,
based on settled Supreme Court and Second Circuit precedent, that, as a matter of law, the vague and conclusory
allegations found in the Amended Complaint cannot support a First Amendment claim. Ms. Vullo further will argue
that such allegations cannot transform proper government speech and proper law enforcement actions directed
towards regulated entities into a First Amendment violation as asserted by a third-party such as the NRA. There are
substantial grounds for Ms. Vullo’s appellate argument on this point. Moreover, Ms. Vullo notes that the NRA still
has not provided any factual basis for these allegations, as set forth in her pending motion to compel.

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speech in a non-binding guidance letter as coercive by referencing unrelated law enforcement

efforts involving regulated entities—fails as a matter of law.

               These are substantial questions of law. Thus, even if the NRA moves this Court

for an order to certify her appeal as frivolous, the Court would not be able to grant it.

               In sum, the Court is fully divested of jurisdiction over the claim against Ms. Vullo

and cannot allow discovery related to this claim to proceed. Ms. Vullo submits that, on this basis

alone, discovery in the case should be stayed.

       C.      Staying discovery pending appeal is consistent with the policy rationales for
               qualified immunity.

               The Supreme Court has made clear that interlocutory appeals of qualified

immunity denials are one of the rare exceptions to the final judgment doctrine, because qualified

immunity is a “particularly important” defense whose value “would be lost through rigorous

application of a final judgment requirement.” Will v. Hallock, 546 U.S. 345, 353 (2006). As the

Supreme Court explained: “Qualified immunity is not the law simply to save trouble for the

Government and its employees; it is recognized because the burden of trial is unjustified . . .

when the relevant law is not clearly established; a quick resolution of a qualified immunity claim

is essential.” Id. And the protections qualified immunity provides are “not merely to avoid

standing trial, but also to avoid the burdens of such pretrial matters as discovery.” Behrens, 516

U.S. 299 at 308 (emphasis in original); Iqbal, 556 U.S. at 685 (“The basic thrust of the qualified-

immunity doctrine is to free officials from the concerns of litigation, including avoidance of

disruptive discovery.” (cleaned up)). Permitting discovery to proceed notwithstanding Ms.

Vullo’s substantial qualified immunity claim would defeat the entire purpose of immunity,

because she would face the burden of pre-trial discovery—as she already has for the selective

enforcement claims, notwithstanding her absolute immunity on those claims. For all of these


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reasons, the Court is divested of jurisdiction over the NRA’s remaining claim against Ms. Vullo,

requiring that discovery in the case be stayed.

II.      IN THE ALTERNATIVE, MS. VULLO IS ENTITLED TO A DISCOVERY STAY
         UNDER THE FOUR-FACTOR STAY TEST

                  While an interlocutory appeal of a denial of qualified immunity automatically

deprives the District Court of jurisdiction, courts in this Circuit have occasionally applied the

general four-factor discretionary stay test. Even under this (inapplicable) test, Ms. Vullo is

entitled to a discovery stay pending the resolution of her appeal.

         A.       Courts in this Circuit order a stay of discovery pending an appeal on
                  qualified immunity grounds when the balance of four factors weighs in favor
                  of the appellant.

                  Where an order to stay proceedings is discretionary, rather than automatic, a four-

factor test applies to stay applications:

                  (1) whether the stay applicant has made a strong showing that [s]he
                  is likely to succeed on the merits; (2) whether the applicant will be
                  irreparably injured absent a stay; (3) whether issuance of the stay
                  will substantially injure the other parties interested in the
                  proceeding; and (4) where the public interest lies.

In re World Trade Ctr. Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007).5 Although the

Second Circuit here noted that it was applying this four-factor test only to a motion to vacate a

stay it previously imposed and stated that it was not “prepared to adjudicate the jurisdictional

challenges” of a stay on an immunity appeal, Ms. Vullo discusses this test here as some district

courts have applied these factors to motions to stay proceedings pending an immunity appeal.


5
 Importantly, the four-factor test is properly applied where a district court maintains jurisdiction, not in the context
of a qualified immunity appeal. As the Bradley court noted, the Second Circuit’s application of these factors in In re
World Trade Center Disaster Site Litigation is “distinguishable from the instant case [determining a motion to stay
pending an immunity appeal] in that the Court of Appeals applied the four factors to vacate a stay granted by the
Court of Appeals itself in light of the lower court’s decision to proceed with pretrial proceedings.” Bradley, 2009
WL 1403891, at *1 n.2. The factors were not applicable in Bradley where the defendant moved for a stay of
proceedings during his appeal of the denial of qualified immunity and the court declined to find his appeal frivolous.
Id.

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               Where courts have applied these factors to motions to stay proceedings pending

the appeal of qualified immunity denial, they generally find that the factors weigh in favor of a

stay. See, e.g., Plummer v. Quinn, No. 07-cv-6154, 2008 WL 383507, at *2 (S.D.N.Y. Feb. 12,

2008) (finding that the balance of the four factors weighed in favor of granting stay pending

defendant’s appeal of denial of qualified immunity).

       B.      Ms. Vullo has made a strong showing that she is likely to succeed on the
               merits of her appeal.

               Ms. Vullo is likely to succeed on the merits of her appeal. As set forth in Section

I.B supra, Ms. Vullo has a strong basis for being granted qualified immunity from the NRA’s

claim as a matter of law. Judge McAvoy’s Order recognized that the general basis upon which

the NRA asserts a First Amendment claim against Ms. Vullo is not “clearly established,” with

the only issue being unspecified allegations of so-called “backroom exhortations,” which cannot,

as a matter of law, form the basis of a First Amendment claim. Dkt. 322 at 25. Moreover, as

noted, Ms. Vullo will argue that the predicate of the NRA’s First Amendment claim fails as a

matter of law. See supra Section I.B. At the very least, Ms. Vullo’s qualified immunity appeal

is strong and she is likely to succeed given the lack of any precedent for the NRA’s claims in this

case. This factor weighs in favor of granting a stay.

       C.      Ms. Vullo will be irreparably injured absent a stay.

               This factor too weighs heavily in Ms. Vullo’s favor. It is well-settled law that

discovery should not be allowed pending the resolution of an immunity question. See, e.g.,

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (“Until [the] threshold immunity question is

resolved, discovery should not be allowed”). As the U.S. Supreme Court has made clear,

immunity serves the important purpose of protecting a defendant from the burdens of litigation,

including discovery, to which she may not be properly subject. Iqbal, 556 U.S. at 672 (qualified


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immunity is “both a defense to liability and a limited entitlement not to stand trial or face the

other burdens of litigation” (cleaned up)); see also Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)

(Because qualified immunity provides “immunity from suit rather than a mere defense to

liability. . . [the immunity] is effectively lost if a case is erroneously permitted to go to trial.”). If

the NRA’s invasive discovery efforts are allowed to proceed, Ms. Vullo will face the irreparable

loss of one of the key protections of qualified immunity. Indeed, as set forth below, it is in the

public interest for public officials to have protections of qualified immunity when making

decisions so that those decisions are not affected by litigious or vindictive parties that appear

before such public officials. This is particularly so here, where Ms. Vullo was New York’s

regulator of a vast financial services industry involving well-financed companies.

                Conversely, a discovery stay would provide Ms. Vullo the protections to which

she is entitled and promote the efficient resolution of this case. The pending burdens of

discovery here are substantial. The NRA has already filed one of multiple discovery motions it

pledged to reassert at the March 26, 2021 discovery conference. See Dkt. 331. The NRA claims

that each of these motions involves its remaining claim against Ms. Vullo, and, without a stay,

she will be required to respond to each of them. In the absence of a stay, the NRA will likely

pursue further discovery that will require Ms. Vullo’s time and attention, including discovery

from now non-party DFS and depositions. Yet, if the Second Circuit determines that Ms. Vullo

is entitled to qualified immunity, the sole remaining claim against her will be dismissed.

                Staying discovery until the Second Circuit rules on Ms. Vullo’s qualified

immunity defense will thus prevent the parties’ needless expenditure of time and resources. This

Court has previously expressed concern regarding the escalating legal expenses being incurred

by the parties in this case. See Dkt. 234 at 3. A global stay of discovery would limit the



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expenses incurred by all parties, as well as the Court’s resources, by pausing the ongoing

disputes and, should Ms. Vullo’s appeal be successful, likely eliminate the need for the parties to

continue to litigate them.6

                  This factor alone weighs overwhelmingly in favor of a stay.

         D.       A temporary stay of discovery will not substantially injure the NRA.

                  A stay of discovery pending the Second Circuit’s resolution of Ms. Vullo’s appeal

will not substantially injure the NRA. There are no discovery matters that are time-sensitive

such that a delay in discovery would prejudice Plaintiff. The NRA’s claims are not dependent on

or impacted by any ongoing events involving Ms. Vullo—it is not seeking any prospective relief,

only damages, and its organizational activities are not dependent on the outcome of this

litigation. See Plummer, 2008 WL 383507, at *1 (finding that availability of compensatory

damages weighed this factor in favor of defendant when plaintiff was not seeking prospective

relief). Further, there is no evidence that any of the remaining parties are at risk of losing

relevant discovery during the appeal’s pendency.

                  While this case has been pending for some time, much of the delay has been of

the NRA’s own making and certainly is not caused by Ms. Vullo. Indeed, the NRA’s repleading

of the now-twice dismissed selective prosecution claim has caused significant delay. Judge

McAvoy dismissed the NRA’s selective prosecution claim against Ms. Vullo on May 9, 2020,

with leave to replead the claim. Dkt. 112 at 8. Inexplicably, the NRA did not attempt to do so

for six months. See Dkt. 202 at 14. Indeed, this Court “conclude[ed] that plaintiff has not shown



6
 The NRA is simultaneously involved in separate proceedings with the New York Attorney General regarding the
NRA’s alleged violations of state and federal law as a non-profit corporation. See People of the State of N.Y. v. The
Nat’l Rifle Ass’n et al., Index No. 451625/2020 (Sup. Ct. N.Y.); The Nat’l Rifle Ass’n v. Letitia James, No. 20-cv-
889 (N.D.N.Y. 2020). Those proceedings now include the NRA’s filing of a Chapter 11 bankruptcy petition in the
United States Bankruptcy Court for the Northern District of Texas, where parties are disputing the propriety of the
bankruptcy filing and creditors are challenging certain NRA expenditures. Ms. Vullo is not a party to these disputes.

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that it acted with due diligence,” in seeking to amend to re-plead its previously dismissed

selective enforcement claim. Dkt. 202 at 13. Once the NRA filed its Second Amended

Complaint, Dkt. 203, Ms. Vullo promptly filed a motion to dismiss this re-pleaded complaint,

along with asserting a qualified immunity defense to the First Amendment claim for the first

time, and now has promptly filed a notice of appeal from Judge McAvoy’s decision.

               Moreover, the Second Circuit prioritizes interlocutory qualified immunity appeals

when they arise from a denial of a motion to dismiss under Fed. R. Civ. P. 12(b)(6), placing them

on an expedited briefing schedule, so the time to resolution is shortened. 2d Cir. L. R.

31.2(b)(1)(B). Other than the mere passage of time while the Second Circuit determines if

Plaintiff’s claims against Ms. Vullo will survive—a wait during which the parties will save on

time, costs, and effort—the NRA cannot identify any actual injury that it would suffer due to a

discovery stay, much less a substantial injury. This factor also weighs in favor of granting a stay.

               As noted above, Ms. Vullo submits that she has shown that she is likely to

succeed on her appeal, given that “there is no case clearly establishing that otherwise protected

public statements transform into an unlawful threat merely because there is an ongoing, and

unrelated, regulatory investigation,” Dkt. 322 at 25, and that the NRA’s threadbare allegations of

purported “threats” and “backroom exhortations” are insufficient as a matter of law. But for

purposes of a stay, because the weight of the injury factors (Factors Two and Three) are so

strong, they alone tip the scales in Ms. Vullo’s favor, so the Court can and should grant the stay

without needing to address Ms. Vullo’s likelihood of success (Factor One), as the success of Ms.

Vullo’s appeal is now for the Second Circuit to determine. See Mohammed v. Reno, 309 F.3d

95, 101 (2d Cir. 2002) (stay pending appeal is appropriate when the balance of hardships favors

the applicant” regardless of likelihood of success or where “the probability of success is high and



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some injury has been shown” (cleaned up)). Here, Ms. Vullo stands to suffer irreparable injury

absent a stay, while the NRA will suffer no tangible injury if a stay is granted. The balance of

hardships already tilts drastically in Ms. Vullo’s favor. Thus, she is not required to show a

likelihood of success on her appeal to prevail on her stay motion. Nonetheless, she has done so.

        E.       A stay of discovery pending an appeal on qualified immunity is in the public
                 interest.

                 Further support for a stay is the public interest factor. Allowing government

officials such as the Superintendent of the Department of Financial Services to carry out their

duties without fear of burdensome discovery from vindictive parties is unequivocally in the

public interest. Qualified immunity, when properly recognized, protects that interest. “The

doctrine [of qualified immunity] is intended to strike a fair balance between (1) the need to

provide a realistic avenue for vindication of constitutional guarantees, and (2) the need to protect

public officials who are required to exercise their discretion and the related public interest in

encouraging the vigorous exercise of official authority.” Jemmott v. Coughlin, 85 F.3d 61, 66

(2d Cir. 1996) (cleaned up). Here, Ms. Vullo engaged in government speech on a matter of

significant public importance by decrying what she saw as the harms from gun violence in the

wake of the Parkland shooting. Such speech is necessarily in the public interest, regardless of

which private parties may be connected to those public concerns.7

                 The public interest is protected when the courts maintain the safeguards of

qualified immunity for individuals subject to retaliatory claims from disgruntled parties due to

speech made in service of their government roles. If the protections of qualified immunity are




7
 It is also uncontested that the consent orders involved in this case were based on violations of law by regulated
entities represented by experienced counsel and which agreed to those consent orders. Judge McAvoy has already
properly dismissed any claims of selective prosecution, holding that Ms. Vullo acted in her role as a law
enforcement official in prosecuting those matters and entering into those consent orders.

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not maintained—if disgruntled parties realize that they may hound their target for wide-ranging

and useless discovery even years after a government official has left her position—public

officials like Ms. Vullo may be more wary of engaging in “the vigorous exercise of official

authority.” Id. Such reactions impede the functioning of government. This final factor joins the

preceding three in counseling the Court to grant Ms. Vullo’s motion for a stay of discovery

pending the resolution of her appeal (assuming the Court addresses the four-factor test at all).

III.      A STAY OF DISCOVERY SHOULD APPLY TO THE ENTIRE CASE

               A stay of discovery as to the entire case is necessary. The remaining universe of

discovery in this case is limited. The NRA’s only remaining claims are First Amendment claims

against Ms. Vullo and Governor Cuomo, both in their individual capacities, based on conduct

alleged to have occurred within the same general limited time period and involving a number of

overlapping facts. See generally Dkt. 203 (Second Am. Compl.). No matter how narrowly the

NRA may tailor discovery as to Governor Cuomo, based on the NRA’s present actions, it is clear

that the NRA will seek to compel Ms. Vullo’s participation, requiring a full stay of discovery to

ensure that her qualified immunity rights are protected. See Edrei, 2017 WL 3822744, at *1

(finding that it lacked jurisdiction over non-appealed claims against other defendants because

they were so similar in their factual nature to the claim subject to a qualified immunity appeal);

Plummer, 2008 WL 383507, at *2 (granting global discovery stay when finding that public

official defendant was entitled to a stay).

               These proceedings present a dilemma that only a full stay can resolve. Without a

full stay of all discovery, Ms. Vullo will be forced to address the NRA’s discovery requests

notwithstanding the Court’s lack of jurisdiction to order her participation—and in violation of

the immunity protection to which she is entitled. Or, if any discovery moves forward ostensibly

only as to the claim against Governor Cuomo without Ms. Vullo’s participation, if Ms. Vullo’s
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appeal were denied, discovery would have to be re-conducted as to Ms. Vullo or she would seek

to preclude the NRA from using against her the discovery it received without her participation.

Conversely, were Ms. Vullo’s appeal to be successful while a full discovery stay were in place,

following such appeal, the Court would need to assess what limited discovery would proceed,

and whether Ms. Vullo’s participation as a dismissed non-party is required at all. A discovery

stay avoids these issues and will allow the case to proceed efficiently and with full participation

of the appropriate parties at the appropriate time.

                The Supreme Court has made clear that a global discovery stay is the appropriate

course even where only one defendant has filed an appeal on a qualified immunity denial,

because a partial discovery stay would require the appealing defendant to nonetheless participate

in discovery:

                It is no answer to these concerns [about discovery notwithstanding
                an asserted qualified immunity defense] to say that discovery for
                petitioners can be deferred while pretrial proceedings continue for
                other defendants. It is quite likely that, when discovery as to the
                other parties proceeds, it would prove necessary for petitioners and
                their counsel to participate in the process to ensure the case does
                not develop in a misleading or slanted way that causes prejudice to
                their position. Even if petitioners are not yet themselves subject
                to discovery orders, then, they would not be free from the burdens
                of discovery.

Iqbal, 556 U.S. at 685-86. Here it has already “prove[d] necessary” for Ms. Vullo to participate

extensively in non-party discovery sought by the NRA to “ensure the case does not develop in a

misleading or slanted way that causes prejudice to [her] position,” and will certainly prove

necessary again absent a stay.

                Notably, although discovery was formally stayed for months in the latter part of

2020 while the motions to dismiss were pending, Ms. Vullo still was not spared “disruptive

discovery.” Id. at 685. She instead had to prepare and submit oppositions to the NRA’s motions


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for third-party discovery to correct the record and counter baseless NRA positions that could

affect party discovery. See Dkt. 259 (Opp. to Hague Request) (filed Sept. 8, 2020); Dkt. 291

(Opp. to Mot. to Compel Everytown for Gun Safety) (filed Oct. 1, 2020); see Dkt. 234 (ordering

objections to Special Master’s recommendation be filed ex parte, which Ms. Vullo did on August

17, 2020).

               Following the District Court’s Order, the NRA has now obtained Court

permission to resubmit these motions and the NRA has stated it will continue to seek the

discovery of documents from now-third-party DFS. Without a discovery stay, Ms. Vullo will

once again have to prepare anew oppositions to these improper efforts to obtain discovery, and

will likely have to spend the time and effort on additional NRA discovery attempts, including

depositions it has noticed of non-parties. This is all while the NRA still has utterly failed to

provide any meaningful discovery of its own to support its unfounded allegations against Ms.

Vullo. The Court should not permit such a fishing expedition to continue while Ms. Vullo

pursues her substantial appeal of her qualified immunity defense.

               Indeed, the history of this case cautions against allowing any discovery before

receiving the benefit of the Second Circuit’s analysis on Ms. Vullo’s appeal. For example, while

the NRA claimed (over Defendants’ objections) that it would be efficient to allow motion

practice to move forward notwithstanding Defendants’ motions to dismiss, the parties are now

re-briefing two motions to compel third-party discovery, now with the benefit of the District

Court’s decision about the scope of this case, substantially increasing the investment of resources

for the Court and the parties. Similarly, in 2019, this Court issued an Order limiting discovery

the NRA sought from DFS, the NRA appealed that ruling, DFS then sought reconsideration of

the District Court’s resolution of that discovery dispute—and all that motion practice is now



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effectively moot because DFS is no longer a party and the NRA’s selective enforcement claim is

dismissed. The Second Circuit’s decision on Ms. Vullo’s appeal is likely to further define the

scope of this case, whether Ms. Vullo succeeds (which she expects) or not, so awaiting the

Second Circuit’s resolution will likely lead to a more streamlined and efficient resolution of any

remaining discovery. Ms. Vullo submits that the proper course is for her appeal on qualified

immunity to be resolved, as it will on a prompt basis, before discovery proceeds in this case.

                                         CONCLUSION

               For the foregoing reasons, Defendant Maria T. Vullo respectfully requests this

Court grant her Motion to Stay Discovery Pending Appeal until the Second Circuit resolves her

interlocutory appeal.


Dated: New York, New York
       April 9, 2021
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